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 11   RON BENDER (SBN 143364)
      MONICA Y. KIM (SBN 180139)
 22   KRIKOR J. MESHEFEJIAN (SBN 255030)
 33   LEVENE, NEALE, BENDER, YOO & BRILL L.L.P.
      10250 Constellation Boulevard, Suite 1700
 44   Los Angeles, California 90067
      Telephone: (310) 229-1234; Facsimile: (310) 229-1244
 55   Email: rb@lnbyb.com; myk@lnbyb.com; kjm@lnbyb.com
 66   Attorneys for Chapter 11 Debtors and Debtors in Possession
 77
                                  UNITED STATES BANKRUPTCY COURT
 88                                CENTRAL DISTRICT OF CALIFORNIA
                                    SAN FERNANDO VALLEY DIVISION
 99
      In re:                                              Lead Case No.: 1:17-bk-12408-MB
10
10                                                        Jointly administered with:
      ICPW Liquidation Corporation, a California          1:17-bk-12409-MB
11
11    corporation1,
                                                          Chapter 11 Cases
12
12
               Debtor and Debtor in Possession.
13
13    ____________________________________
      In re:                                              AMENDMENT TO APPLICATION OF
14
14                                                        DEBTORS AND DEBTORS IN
      ICPW Liquidation Corporation, a Nevada              POSSESSION TO EMPLOY BPE&H AN
15
15    corporation2,                                       ACCOUNTACY CORPORATION AS
16                                                        CERTIFIED PUBLIC ACCOUNTANT
16
               Debtor and Debtor in Possession.           TO THE DEBTORS PURSUANT TO 11
17
17    ____________________________________                U.S.C. §§ 327 WITH COMPENSATION
                                                          PURSUANT TO 11 U.S.C. § 328;
18
18         Affects both Debtors                           DECLARATION OF MARTIN BELAK-
                                                          BERGER, CPA IN SUPPORT
19
19      Affects ICPW Liquidation Corporation, a           THEREOF
20    California corporation only
20
                                                          DATE:      December 12, 2017
21
21      Affects ICPW Liquidation Corporation, a           TIME:      1:30 p.m.
      Nevada corporation only                             PLACE:    Courtroom “303”
22
22                                                                  21041 Burbank Blvd.
                                                                    Woodland Hills, CA
23
23
24
24
25
25
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26
      1
27
27        Formerly known as Ironclad Performance Wear Corporation, a California corporation.
      2
          Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
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28

                                                      1
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 11          ICPW Liquidation Corporation, a California corporation, formerly known as Ironclad

 22   Performance Wear Corporation, a California corporation, and ICPW Liquidation Corporation, a

 33   Nevada corporation, formerly known as Ironclad Performance Wear Corporation, a Nevada

 44   corporation, the debtors and debtors-in-possession in the above-captioned Chapter 11 bankruptcy

 55   cases (collectively, the “Debtors”), hereby submit this Amendment to that certain application

 66   (the “Application”) [Docket No. 284] for Court approval of their employment of BPE&H An

 77   Accountancy Corporation (the “Accountant”) as the Debtors’ certified public accountant

 88   pursuant to sections 327 and 328 of title 11 of the United States Code (as amended, the

 99   “Bankruptcy Code”) and Rules 2014 and 2016 of the Federal Rules of Bankruptcy Procedure
10
10    (the “Bankruptcy Rules”).
11
11           This Amendment is intended to modify the scope of work to be performed (and
12
12    compensation structure) by the Accountant, and make further discloses pursuant to Rule 2016 of
13
13    the Federal Rules of Bankruptcy Procedure.
14
14                        Modified Scope of Work and Terms of Compensation
15
15           The Application is hereby amended to provide that, subject to Court approval, the
16
16    Accountant will perform the following services for the Debtors according to the following
17
17    compensation structure:
18
18           1.      The Accountant will determine (even as a preliminary estimate) for the benefit of
19
19    the Debtors, if the Debtors will be owing any taxes resulting from the recent sale of the Debtors’
20
20    assets, so that the Debtors can properly reserve for the payment of any such taxes (the
21
21    “Additional Assignment”). Such information obtained from the Additional Assignment will
22
22    assist the Debtors in connection with expeditiously administering their bankruptcy cases to
23
23    conclusion. As compensation for the Additional Assignment, the Accountant requests that the
24
24    Court authorize the Debtors to pay to the Accountant, on a final basis, and without the need for
25
25    the Accountant to file a final fee application, fees not to exceed the sum of $6,000. The
26
26    Accountant will charge its normal and customary hourly rates and will seek reimbursement of
27
27    expenses, but the total amount of fees and expenses will not exceed $6,200. The Accountant’s
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28

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 11   hourly rates for the Additional Services will range from $175 to $420, which the Accountant

 22   submits are commensurate with prevailing market rates.

 33          2.      The Accountant will prepare the Debtors’ 2016 state and federal tax returns for a

 44   fixed fee of $13,000.

 55          3.      The Accountant will work with the Debtors to review and determine whether

 66   amendments are required to 2015 state and federal tax returns which were filed pre-petition. The

 77   Accountant will charge a fixed fee of $1,500 for this review and determination. To the extent

 88   amendments are required, the Accountant will charge an additional fixed fee of $9,500.

 99          4.      The Accountant will not prepare the Debtors’ 2017 or 2018 state or federal tax
10
10    returns.
11
11           5.      The Accountant will receive a retainer in the amount of $10,000 upon Court
12
12    approval of the Application as amended by this Amendment.
13
13           6.      The Accountant requests Court approval of the Accountant’s proposed
14
14    compensation on a final basis without the need for the Accountant to file a final fee application.
15
15          Additional Disclosures Pursuant to Rule 2016 of the Federal Rules of Bankruptcy
16
16                                                Procedure
17
17           The Debtors have recently learned that the Accountant serves as the accountant to
18
18    Samuel R. Maizel, who is a partner of Dentons US LLP, counsel to the Official Committee of
19
19    Equity Holders, and the Accountant has recently learned that Mr. Maizel is an attorney involved
20
20    in this case. Neither the Debtors nor the Accountant believe that this presents an issue with
21
21    respect to the Accountant’s employment in these cases, as the Accountant’s connection with Mr.
22
22    Maizel has no relationship to the Accountant’s proposed work in these cases.
23
23    ///
24
24    ///
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25    ///
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26    ///
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27    ///
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                                                       3
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 11                           DECLARATION OF MARTIN BELAK-BERGER

 22          I, Martin Belak-Berger, CPA hereby declare as follows:

 33          1.      I have personal knowledge of the facts set forth below and, if called to testify,

 44   would and could competently testify thereto.

 55          2.      I am a shareholder at BPE&H An Accountancy Corporation (the “Accountant”).

 66   I am also a certified public accountant. I make this Declaration in support of the Supplement to

 77   which this Declaration is attached. Capitalized terms not otherwise defined have the same

 88   meaning ascribed to such terms in the Supplement.

 99          3.      The Debtors and the Accountant have agreed to modify the scope of the
10
10    Accountant’s work and proposed compensation, as follows:
11
11           4.      The Accountant will determine (even as a preliminary estimate) for the benefit of
12
12    the Debtors, if the Debtors will be owing any taxes resulting from the recent sale of the Debtors’
13
13    assets, so that the Debtors can properly reserve for the payment of any such taxes (the
14
14    “Additional Assignment”).
15
15           5.      As compensation for the Additional Assignment, the Accountant requests that the
16
16    Court authorize the Debtors to pay to the Accountant, on a final basis, and without the need for
17
17    the Accountant to file a final fee application, fees not to exceed the sum of $6,000. The
18
18    Accountant will charge its normal and customary hourly rates and will seek reimbursement of
19
19    expenses, but the total amount of fees and expenses will not exceed $6,200. The Accountant’s
20
20    hourly rates for the Additional Services will range from $175 to $420, which I submit are
21
21    commensurate with prevailing market rates.
22
22           6.      The Accountant will prepare the Debtors’ 2016 state and federal tax returns for a
23
23    fixed fee of $13,000.
24
24           7.      The Accountant will work with the Debtors to review and determine whether
25
25    amendments are required to 2015 state and federal tax returns which were filed pre-petition. The
26
26    Accountant will charge a fixed fee of $1,500 for this review and determination. To the extent
27
27    amendments are required, the Accountant will charge an additional fixed fee of $9,500.
28
28

                                                      5
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                                    PROOF OF SERVICE OF DOCUMENT
  1
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
  2   address is: 10250 Constellation Boulevard, Suite 1700, Los Angeles, CA 90067

  3   A true and correct copy of the foregoing document entitled AMENDMENT TO APPLICATION OF
      DEBTORS AND DEBTORS IN POSSESSION TO EMPLOY BPE&H AN ACCOUNTACY
  4   CORPORATION AS CERTIFIED PUBLIC ACCOUNTANT TO THE DEBTORS PURSUANT TO 11
      U.S.C. §§ 327 WITH COMPENSATION PURSUANT TO 11 U.S.C. § 328; DECLARATION OF MARTIN
  5   BELAK-BERGER, CPA IN SUPPORT THEREOF will be served or was served (a) on the judge in
      chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:
  6
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  7   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On December 8, 2017, I checked the CM/ECF docket for this bankruptcy
  8   case or adversary proceeding and determined that the following persons are on the Electronic Mail
      Notice List to receive NEF transmission at the email addresses stated below:
  9
               Shiva D Beck sbeck@gardere.com, jcharrison@gardere.com
 10            Ron Bender rb@lnbyb.com
               Cathrine M Castaldi ccastaldi@brownrudnick.com
 11            Russell Clementson russell.clementson@usdoj.gov
               Aaron S Craig acraig@kslaw.com, lperry@kslaw.com
 12            Matthew A Gold courts@argopartners.net
               Monica Y Kim myk@lnbrb.com, myk@ecf.inforuptcy.com
 13            Jeffrey A Krieger jkrieger@ggfirm.com,
                kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenberggl
 14             usker.com
               Samuel R Maizel samuel.maizel@dentons.com,
 15             alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons
                .com;kathryn.howard@dentons.com
 16            Krikor J Meshefejian kjm@lnbrb.com
               Tania M Moyron tania.moyron@dentons.com, chris.omeara@dentons.com
 17            S Margaux Ross margaux.ross@usdoj.gov
               United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov
 18            Sharon Z. Weiss sharon.weiss@bryancave.com, raul.morales@bryancave.com

 19
      2. SERVED BY UNITED STATES MAIL: On December 8, 2017, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
 20   and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
 21   completed no later than 24 hours after the document is filed.
 22
                                                                              Service information continued on attached page
 23
 24   3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
      EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR,
 25   on December 8, 2017, I served the following persons and/or entities by personal delivery, overnight mail
      service, or (for those who consented in writing to such service method), by facsimile transmission and/or
 26   email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
 27
 28

       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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      Served via Attorney Service
  1   Hon. Martin R. Barash
      United States Bankruptcy Court
  2   21041 Burbank Boulevard, Suite 342
      Woodland Hills, CA 91367
  3
  4                                               Service information continued on attached page (OVERNIGHT MAIL)

  5
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is
  6   true and correct.

  7    December 8, 2017                   Lourdes Cruz                                   /s/ Lourdes Cruz
       Date                               Type Name                                      Signature
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       This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

      June 2012                                                                    F 9013-3.1.PROOF.SERVICE
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2. SERVED BY OVERNIGHT MAIL:



Committee Counsel                 Equity Committee Counsel             Russell Clementson
Brown Rudnick LLP                 Dentons US LLP                       S Margaux Ross
Attn: Cathrine M Castaldi         Attn: Samuel Maizel & Tania Moyron   United States Trustee
2211 Michelson Dr 7th Fl          601 South Figueroa St., Suite 2500   915 Wilshire Blvd., Suite 1850
Irvine, CA 92612                  Los Angeles, CA 90017-5704           Los Angeles, California 90017
